C.lA 20 :\I‘PO!NTMENT OF .-\.ND AUT|{OR|TY TO PAY COURT AFPOINTED ClOU|I;`SELn
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Long, Grace

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]. MAG. DKTJDEF`. NUMBER -|. DlST. DK'I".."DEF. NUMBER

2:04-0203 02-001

5. APPEALS DKT./'DEF. NUMBER 6. OTIIER DKT. NUMBER

 

1.1N cAsE/MATrER or
U.S. v. Long Felony

(Case Name) S. PAYMENT CATEGORY

 

9. TYPE PERsoN REPRESENTED
Adult Defendant

10. REP RESENTATION TYPE

(See lnstructlons)

Appeal of Other Matters

 

 

11. 0FFEN5E($) cn ARCED (ciw U.s. code, rifle & section
l) 21 841B=ND.F -- NARCOTICS ~ SELL, DISTRIBUTE,

If more than one oii‘ense, list {up to l`lve) major ol'l`mses

tlurfed, according to severity ol'ofl'ense.

OR DISPENSE

 

 

 
       

 

 

 

CATEGORIE.S (Attach itemization of services with dates)

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A‘;.
12. ATTORNEY'S NAME grim N.m¢, M.l.. can N.m¢, including any minn 13. CoURT 0RDER ’5':`5,¢
AND MAILING ADDRE S M 0 Appointing Cnunsel g C Co-Cnunsel '{’ l\<_'t /
Weinman’ B@mafd [:I F Sui!s For Federl| Defender l:i R Subs For Retsioed Agthfney »»"~ f
m P Suhs For Ploel At‘torney [] Y Standhy Counsel Vi",‘ '4.» \ :)/
275 IEFFERSON AVE _ l (;;A\, '_ /_J
MEMPHIS ’['N 38103 Fnor Attorney s Name: \ '.{/ d
Appointment Date: 52;¢.:)'" {‘";
\:F Because the above-named person represented has testified under oath or has ' fit/154
otherwise satisfied this court that he or she {t) is financially unable to employl counsel ah§_»,\’(’§\,|/§_:
Te|nph(me Numhcr: [2) does not wish to waive counsel, a ause the interests ol'justiee so require, the (j?¢ ./"* g
attorney wh ‘ lt 11 ' appointed to represent th|s person in this csse, L,:'¢, l
14. NAME AND MAILING ADDR.ESS OF LAW FIRM (only provide per instructinlts) or .X_"{
U Ot r(See instruction '

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Signahu;/ot' Presiding .I icio| Oi'iicer or By Ord,er oftl\e Court
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[)ale ufOrder Nunc Pru Tunc Dare
Repaymeslt or partial repayment ordered from the person represented l`or this service at

 

 

 
  

HOURS
CLAlMED

time ofsppointment. l] YES I:[ NO

     
 
  

TOTAL
AMOUNT
CLAIMED

 

a. Arraignment and/or Piea

  

 

b. Bail and Detention Hearings

 

 

 

c. Motion Hearings

 

d. Trial

 

c. Sentencing Hearlngs

 

f. Revocation Hearings

 

g. Appeals Court

n-‘:¢;n .'.l*"

 

 

h. Other (Specii'y on additional sheets)

 

 

(Rate per hour = $ ) TOTALS:

  

 

.°"

a. interviews and Conl'erences

 

 

b. Ohtalning and reviewing records

 

 

c. Legal research and brief writing

 

 

 

d. Travel time

 

 

e. Investigative and Other work (sp¢=lry on additional simon

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(Rate per hour = S ) TOTALS:

(|odging, porking, meals, mileage, etc.)

 

 

Travel Expenses

 

 

Other Expenses

  
   

(other than expert, transcripts, etc.]

 

 

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19. CERTIFICATION OF ATI`ORNEYIPAYEE FOR THE PERIOD 0 F SERVICE

 

 

    

  
 
  

 

 

 

 

 

 

 

 

representation? l:| YES i:] NO [fyes, give details on additional sheets.
Iswear or affirm the truth or correctness of the above statements.

 

 

Si nature ofAttorney:

 

20. APPOINTMENT TER.MINAT]ON DATE 21. CASE Dlspo SITION
FROM TO ]F OTHER THAN CASE CDMPLET]ON
22. C LAlM STATUS l:] Final Psymeot l:] loterim Payment Number l:] Supplemental Paymeut
Hsve you previoust applied to the court fir eompeosallua andlor remlmhursement for this case'l U YES ll’yes. were you plid'.’ ij YES E NO
Other than from the court.

have ynu, or toyour knowledge hal anyone else, received payment (cornpensstlon or lnyshing or value)

from any other source in connection with this

 

 

23. lN COURT COMP. 24. OUT OF COURT COMP.

  

 
 
      
 

25. TRAVEL EX]’ENSES

 

     

26. OTHER EXPENSES 27. T¢)TAL AMT. APPR:‘C'ERT

 

28. SIGNATURE OF TI{E PRES|DING JUDICIAL OFFICER

DATE Ziil. JUDGEI MAC.JUDGE CODE

 

29. lN COURT COMP. 30. OUT OF COURT CC|MP.

 

 

31. TRAVEL EXPENSES

32. OTHER EXPENSES 33. TOTAL AMT.APPROVED

 

34. SICNATURE OF CHIEF .IUDGE, COURT

approved in excess ol'the statutory threshold amou

 

OF AI’P EALS [OR DELEGATE) Paymeot
n .

DATE 341!. JUDGE CODE

 

 

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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May ]3, 2005 to the parties listcd.

 

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Honorablc J. Breen
US DISTRICT COURT

